 EXHIBIT 1
(filed under seal)
From:                Laura Menninger
To:                  Brad Edwards
Cc:                  Meredith Schultz; Jeff Pagliuca; Paul Cassell (cassellp@law.utah.edu); Sigrid McCawley
Subject:             Re: Your motions
Date:                Wednesday, July 13, 2016 10:16:58 PM




There's clearly a disconnect. We understood you were waiting to review the search terms. In addition, Jeff advised
you that given the holiday and travel schedules it would take more time to resolve this issue. You never told Jeff that
Meredith was the only person handling this. Jeff understood that you would discuss with her and get back to him.

The Judge has required for conferrals to occur after a writing which spells out the nature of a dispute. There is no
such communication from you prior to filing this Motion. The motion is classic deflection. The plaintiff is now
under scrutiny for her failure to produce readily available medical records and rather than dealing with that issue you
choose, without required conferral, to ask for sanctions on a non issue.

Apparently you all want to spend every Thursday at noon in New York before the Court for no reason. We are in the
process of the forensic examination of the devices. We expect to have that examination completed prior to Ms.
Maxwell's continued deposition. To be clear, we do not agree to the 344 search terms unilaterally proposed by Ms.
Schultz. If Ms. Schultz wants to propose reasonable search terms we will consider them. In the absence of
reasonable terms we will conduct the search I propose and advise you of the results.

I will raise all of these issues with the Court.

-Laura

> On Jul 13, 2016, at 8:00 PM, Brad Edwards <brad@pathtojustice.com> wrote:
>
> Just to be clear, I specifically did not confer with anyone about this issue.
>
> A few weeks ago Jeff told me they had not received search terms and if I remember correctly said that it would
take 10 days after receiving the terms to make the complete production. I told him that was something Meredith was
compiling and I had nothing at all to do with it.
>
> Last week Jeff and I talked about the scheduling of depositions and trial, and during that call Jeff said he received
the search terms and thought the search terms were overbroad. I told him I had not seen them and that Meredith was
handling that. Jeff even read one or two of them to me to make his point. I said that motion and those issues are not
items I am involved in. He would have to confer with Meredith on that issue.
>
> Jeff and I talked again today to complete the agenda items that we were conferring on. This is not one of them.
>
> Brad
>
> Sent from my iPhone
>
>> On Jul 13, 2016, at 9:44 PM, Laura Menninger <lmenninger@hmflaw.com> wrote:
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>> Meredith -
>>
>> We did confer with Brad regarding your search terms. He said he would get back to us regarding your 300+
search terms which we told him were excessive and not related to your Requests or the Court Order. We also told
him that we needed additional time given the parties' lack of agreement (required by the court), the holidays and
counsels' travel schedules.
>>
>> Because he was out of the country, no further discussion has yet occurred. In light of this sequence of events,
which you can confirm with him, I ask you to withdraw the motion you just filed (without conferral) at once.
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>> -Laura
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